        Case 1:19-cr-00044-DLC Document 117 Filed 01/03/20 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 19–44–BLG–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 BRANDON J. BIGHAM,

                      Defendant.



      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendation in this matter on December 19, 2019. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Cavan recommended this Court accept Brandon J. Bigham’s guilty


                                           1
        Case 1:19-cr-00044-DLC Document 117 Filed 01/03/20 Page 2 of 2



plea after Bigham appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to possession of methamphetamine with

intent to distribute in violation of 21 U.S.C. § 841(a)(1) as charged in the

Superseding Information.

      I find no clear error in Judge Cavan’s Findings and Recommendation (Doc.

114), and I adopt them in full.

      Accordingly, IT IS ORDERED that Brandon J. Bigham’s motion to

change plea (Doc. 105) is GRANTED and Brandon J. Bigham is adjudged guilty

as charged in the Superseding Information.

      DATED this 3rd day of January, 2020.




                                          2
